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&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL C

&nbsp;

&nbsp;MARCH 12, 2010



&nbsp;



&nbsp;

ROBERT TIJERINA, APPELLANT

&nbsp;

v.

&nbsp;

THE STATE OF TEXAS, APPELLEE 



&nbsp;



&nbsp;

&nbsp;FROM THE 64TH DISTRICT COURT OF HALE
COUNTY;

&nbsp;

NO. A17408-0710, A17409-0710; HONORABLE ROBERT W. KINKAID JR., JUDGE



&nbsp;



&nbsp;

Before QUINN,
C.J., and HANCOCK and PIRTLE, JJ.

&nbsp;

&nbsp;

ABATE AND REMAND

&nbsp;

Appellant, Robert Tijerina,
appeals from his conviction for driving while intoxicated, third or more, and
sentence of 55 years incarceration in the Texas
Department of Criminal Justice, Institutional Division.

After
one extension was granted, the clerk=s record was filed on January 13, 2010.&nbsp; The reporter=s record was initially due on December 7, 2009.&nbsp; On December 15, 2009, the Clerk of this Court
notified the reporter that the reporter’s record was past due and directed the
reporter to advise the Court of the status of the reporter’s record on or
before December 28, 2009.&nbsp; On December
23, 2009, the reporter filed a request for extension of time to file the record
on the basis of the reporter’s caseload.&nbsp;
On January 4, 2010, the Court granted that motion and extended the
deadline for filing the reporter’s record to January 15, 2010.&nbsp; The reporter filed a second request for
extension of time to file the record on January 14, 2010, indicating that 14
and one half volumes of the 17 volume record had been completed.&nbsp; On January 21, 2010, the Court granted the
motion and extended the deadline to February 16, 2010.&nbsp; On February 23, 2010, the Clerk of this Court
again notified the reporter that the reporter’s record was past due and
directed the reporter to advise the Court of the status of the reporter’s
record on or before March 5, 2010.&nbsp; On
March 5, 2010, the reporter again filed a request for extension of time to file
the record indicating that her caseload was preventing her from completing the
record.&nbsp; We deny the reporter=s third request for extension of time
to file the reporter=s record as not being supported by
good cause.&nbsp; 

Accordingly,
we abate this appeal and remand the cause to the trial court for further
proceedings.&nbsp; See Tex. R. App. P. 35.3(c).&nbsp; Upon remand, the trial court shall
immediately cause notice of a hearing to be given and, thereafter, conduct a
hearing to determine whether the reporter=s caseload is such that an alternate or substitute reporter
should or can be appointed to complete the record in this appeal in a timely
manner.&nbsp; If so, the trial court is
directed to take whatever steps are necessary to ensure that the reporter=s record in this appeal is filed as
soon as practicable.

The
trial court shall cause the hearing to be transcribed.&nbsp; In addition, the trial court shall (1)
execute findings of fact and conclusions of law addressing the foregoing
issues, (2) cause a supplemental clerk=s record to be developed containing its findings of fact and
conclusions of law and any orders it may issue relating to this matter, and (3)
cause a reporter=s record to be developed transcribing
the evidence and arguments presented at the aforementioned hearing, if
any.&nbsp; The trial court shall then file the
supplemental clerk=s record and any reporter=s record transcribing the hearing
with the Clerk of this Court on or before April 7, 2010.&nbsp; Should further time be needed by the trial
court to perform these tasks, same must be requested before April 7, 2010.

It is so
ordered.

Per Curiam

&nbsp;

Do not publish.&nbsp; 

&nbsp;

&nbsp;

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